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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,



       v.                                                  Case 1:19-cr-00018-ABJ


ROGER J. STONE, JR.

            Defendant.
___________________________________________/

                                   NOTICE TO COURT ORDER
                                      (September 27, 2019)


       Bruce S. Rogow, of Bruce S. Rogow, P.A., files this Notice in response to the Court’s

Order of September 27, 2019, and advises that he will appear as lead counsel of record on behalf

of Defendant, Roger Stone. Counsel has read the Local Criminal Rules and advises the Court

that he complies with Local Criminal Rule 83.2(b)(1).



                                                           Respectfully submitted,

                                                           /s/ Bruce S. Rogow
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day

on all counsel of record or pro se parties identified on the attached service list in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic filing.


    United States Attorney’s Office for the
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                                                           By: /s/ Chandler P. Routman
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